Case: 24-40101            Document: 34-1         Page: 1      Date Filed: 08/27/2024




           United States Court of Appeals
                for the Fifth Circuit
                                   ____________
                                                                             United States Court of Appeals
                                                                                      Fifth Circuit
                                    No. 24-40101
                                  Summary Calendar                                  FILED
                                  ____________                                August 27, 2024
                                                                               Lyle W. Cayce
United States of America,                                                           Clerk

                                                                    Plaintiff—Appellee,

                                          versus

Samuel Arreola-Mejia,

                                            Defendant—Appellant.
                   ______________________________

                   Appeal from the United States District Court
                       for the Southern District of Texas
                            USDC No. 5:23-CR-957-1
                   ______________________________

Before Graves, Willett, and Wilson, Circuit Judges.
Per Curiam: *
      The Federal Public Defender appointed to represent Samuel Arreola-
Mejia seeks leave to withdraw and has filed a brief in accordance with Anders
v. California, 386 U.S. 738 (1967), and United States v. Flores, 632 F.3d 229(5th Cir. 2011). Arreola-Mejia has not filed a response. We have reviewed
counsel’s brief and the relevant portions of the record reflected therein. We

       _____________________
       *
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 24-40101      Document: 34-1     Page: 2   Date Filed: 08/27/2024




                              No. 24-40101


concur with counsel’s assessment that the appeal presents no nonfrivolous
issue for appellate review. Accordingly, counsel’s motion for leave to
withdraw is GRANTED, counsel is excused from further responsibilities
herein, and the appeal is DISMISSED. See 5th Cir. R. 42.2.




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